N
U.S. DISTRICT COURT INDEX #: 1:23-CV-03881-NRM-TAM

EASTERN DISTRICT OF NEW YORK DATE FILED; 05/25/2023
COURT DATE:
SURINDER SINGH Job #: 578662

Your File No:OLIVIERI

.

vs Plaintiff
BARNEY'S SERVICE STATION INC. and ANTHONY PANVINI

Defendant

CLIENT’S FILE NO.: OLIVIERI
STATE OF NEW YORK: COUNTY OF NASSAU ss: AFFIDAVIT OF SERVICE
~~ e
|, Ricardo Curo, being duly sworn deposes and says deponent is not a party to this action and is over the age of
eighteen years and resides in the state of New York.
That on 6/8/2023 at 1:27 PM at .
200-05 HORACE HARDING BLVD, BAYSIDE, NY 11364

Deponent served the within SUMMONS AND COMPLAINT IN AN FSLAACTION, CIVIL COVER SHEET
on ANTHONY PANVINI recipient therein named.
THE ABOVE PAPERS WERE ENDORSED WITH THE INDEX # AND DATE OF FILING 05/25/2023

By personally delivering to and leaving with said ANTHONY PANVINI a true copy thereof and that he knew the person so served °
to be the person mentioned and described in said SUMMONS AND COMPLAINT IN AN FSLAACTION, CIVIL COVER SHEET

A description of the recipient or other person served on behalf of the recipient is as follows.
Approx Age: 51-65, Approx Weight: 161-200 Lbs., Approx Height: 5ft 4in - 5ft 8in, Sex: Male, Approx Skin:
White, Approx Hair: Black, Other:

\

Deponent spoke to and confirmed the above address of the defendant and asked whether defendant was in active military
service of the United States or the State of New York in any capacity whatever or is a dependent of anyone the military and
réceved a negative reply. Defendant wore ordinary civilian clothes and no military uniform. The source of my information and the
grounds of my belief are the conversations and observations above narrated.Upon information and belief | aver that defendant is
not in the military service of New York State or of the United States as that term is defined in either the state or federal statutes.

Sworn to before me on 6/13/2023
Leta Evanthes 01EV6205373
Notary Public, State of New York
Qualified in Nassau County
Commission Expires May 11, 2025

7

Ricardo Curo
2034227

R/D Traveler's 206 Stonehinge Ln - Ste 2, Carle Place, NY 11514 - NYC DCA Lic# 1373465
Case 1:23-cv-03881-NRM-TAM Document 6 Filed 06/21/23 Page 2 of 2 PagelD #: 31

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SURINDER SINGH, Civil Action No: 1:23-CV- 03881
Plaintiff,
’ -against-

BARNEY’S SERVICE STATION, INC., and ANTHONY
PANVINI,

Defendants.

AFFIDAVIT OF SERVICE OF SUMMONS AND COMPLAINT
ANTHONY PANVINI

Law Office of Daniel R. Olivieri, P.C.
Attorneys for Plaintiff SURINDER SINGH
487 Jericho Turnpike
Syosset, New York 11791
(516) 470-0704
